Case 1:20-cr-00183-RJJ ECF No. 201, PageID.1050 Filed 05/21/21 Page 1 of 1

                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                       Case No. 1:20−cr−183

   v.                                     Hon. Robert J. Jonker

BARRY GORDON CROFT, JR,

         Defendant.
                                     /



                          NOTICE OF HEARING


TAKE NOTICE that a hearing on the following motion(s) has been scheduled as
set forth below:


Motion(s):            Motion to Compel (ECF No. 198)
Date/Time:            June 16, 2021 01:00 PM
Magistrate Judge:     Sally J. Berens
Place/Location:       650 Federal Building, Grand Rapids, MI

Public audio access (listen only) for the hearing will be available by phone at
(888) 3634734 with Access Code 6957754#; RECORDING OR
BROADCASTING OF THIS PROCEEDING IS PROHIBITED LGenR 4.1(c)(i) and
(ii).




                                     SALLY J. BERENS
                                     U.S. Magistrate Judge

Dated: May 21, 2021            By:    /s/ Jenny Norton
                                     Courtroom Deputy
